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                            UNITED STATES DISTRICT COURT
                            SOUTH ERN DISTRICT OF FLORIDA
                          CA SE N O .:19-20544-CIV -M A RTlN EZ/A O R

  LA RR Y K LA Y M AN ,
        Plaintiff,



  THOM AS J.FITTON ,

        Defendant.


                                            O RD ER

        THIS CAUSE came before theCourtupon DefendantThom asFitton's(GûDefendanf')
  M otiontoDismissforLackofPerConalJurisdtction (hereafter,tGM otiontoDismiss'')(D.E.6q.
  Tllismatterwasreferredtotheundersignedpursuantto28U.S.C.j636bytheHongrableJoseE.
  M artinez,UnitedStatesDistrictJudge ED.E.5j.Theundersignedheldaheéringonthismatteron
  M ay 21,2019.In accordancewith theundersigned'snllingsatthehearing,itis

        OR DER ED A N D A D JU D G ED asfollow s:

        >' By Friday,June21,2019,PlaintiffLany Klayman (tGplaintiff')may conducta2-
                                                        '
                             .


           hourdeposition ofDefendantlimitedtopersonaljurisdiction discovery.
        >' W ithin 10 daysthereàftèr,Plaintiffshallsupplem enthisOpposition toDefendant's

           M otiontoDismissED.E.8).                         '
                                                                 4/-
        D ONE Ar      ORDERED in Cham bersatM iam i,Floridathis2/ day ofM ay,2019.


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                                                    IJNITEOSTATESMAGISTRATEJuodE
  cc:   U nited StatesD istrictJudge Jose E.M artinez
        CounselofRecord
